Case 7:24-cv-00114-B   Document 74-3   Filed 02/01/25   Page 1 of 4   PageID 430




                              Exhibit B
          Case 7:24-cv-00114-B                 Document 74-3               Filed 02/01/25            Page 2 of 4           PageID 431
  Message


  From:                                   coca-cola.com]
  Sent:             18/02/2022 3:15:12 PM
  To:               Rob Rakowitz ~wfanet.org]
  CC:                                             wfanet.org];                                      coca-cola.com]; -

  Subject:          RE: Spotify misinformation concerns



  Thanks Rob and -

  -mentioned yesterday that he was talking to someone at GARM, so now I know who!

  Interested to hear if you have had any members raise concerns with you. We would certainly love to get feedback after
  your meeting with them.



  Many thanks




  -    ~MEurope


                                                                        -@coca-cola.com

                                                                         M
       Media
       Global IMX




 -Many thanks




                                                              Classified - Confidential
  From: Rob Rakowitz - w f a n e t . o r g >
  Sent: 18 February 2022 11:16
  To:                         coca-cola.com>
  Cc                                  wfanet.org>



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  ph ish@coca-cola.com .


  Hi--



                                                                    Appendix 82

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        Case 7:24-cv-00114-B                  Document 74-3               Filed 02/01/25            Page 3 of 4   PageID 432
-shared your email with me.
 I actually connected w i t h - o n this the other day.

We are concerned by the situation with Spotify and we are meeting with them to discuss remedial steps they should be
taking.
They've asked to delay this meeting so their trust and safety teams can join.

Fundamentally there's an issue in these instances with Joe Rogan with content safety x monetization and their
underlying distribution deal; Spotify pay for the rights to distribute and then look the other way on content safety. Brand
safety is somewhat separate on Spotify versus say Facebook Newsfeed because brands aren't being slotted into JRE by
accident per say. However this goes back to the challenge that someone at Spotify saying that misogynistic content and
misinformation is safe for consumers, suitable for advertisers. This is where GARM is concerned by their decisions to
carry and monetize said content.

We are meeting with Spotify to determine the extent that they have clear moderation and monetization policies,
determine to what degree are they transparent, are what mechanisms are consistently enforced.

Please let me know if you need more information - we of course are happy to keep you up to speed on these
conversations.

Thanks



Rob Rakowitz
Initiative Lead - Global Alliance for Responsible Media

WFA- World Federation of Advertisers
:  -     •I•• • New York • Singapore


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Although I have sent this at a time that is convenient for me, it is not my expectation that you read,
respond or follow up on this email outside your hours of work.




From:                              Jw coca-cola.com >
Sent: Thursday, February 17, 2022 3:08 PM
To:
Cc:
Subject: Spotify misinformation concerns

Hi-

I hope you are well.

I wanted to ask you if you have heard anything from any members about concerns around Spotify misinformation
coming from the Joe Rogan podcast. Specifically I am wondering if anyone has said that they are boycotting Spotify from
an advertising perspective.

I know that Spotify have recently joined GARM but also aware that they have not published anything around compliance
to their policies.

It would be great to hear anything you have heard from other advertisers, although I appreciate you might not be able
to say which advertisers have made the comments.

                                                                   Appendix 83
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  Many thanks



 -     ~ d 1 JEurope


                                                                                  ~coca-cola.com


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                                                                             Appendix 84

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